                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE




 UNITED STATES OF AMERICA,                              )
                                                        )
 v.                                                     )       No. 3:09-CR-64
                                                        )       (Phillips)
 RONALD THOMPSON-BEY,                                   )



                                 MEMORANDUM AND ORDER

        On January 12, 2010, the Honorable H. Bruce Guyton, United States Magistrate Judge, filed

 a Report and Recommendation (“R&R”) [Doc. 170] in which he recommended to deny Defendant’s

 Motion to Suppress Physical Evidence [Doc. 115] and to deny Defendant’s Motion to Suppress

 Statements [Doc. 118] (styled as “Memorandum of Points and Authorities in Support of Motion of

 Defendant Ronald Thompson-Bey to Suppress”). The parties appeared before Judge Guyton for an

 evidentiary hearing on November 3, 2009. Following the hearing, the Government filed a

 supplemental brief [Doc. 143], and Defendant filed a supplemental brief [Doc. 151]. On January

 12, 2010, Judge Guyton filed the R&R [Doc. 170]. On February 5, 2010, Defendant filed objections

 to the R&R [Doc. 197].1

        This matter is presently before the Court on Defendant’s timely objections to the R&R [Doc.

 197]. As required by 28 U.S.C. § 636(b)(1), the Court has now undertaken a de novo review of

 those portions of the R&R to which Defendant objects.


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        Defendant’s objections are timely because he was granted an extension to file objections to the
 R&R [Doc. 170] up to and including February 5, 2010. [Doc. 193].

                                                   1


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        Defendant does not raise any new arguments in his objections, and the Court finds itself in

 agreement with Judge Guyton’s analysis of the legal issues. Consequently, Defendant’s objections

 [Doc. 197] will be OVERRULED, and the R&R [Doc. 170] will be ACCEPTED IN WHOLE.

 Accordingly, for the reasons articulated by Judge Guyton in the R&R [Doc. 170], Defendant’s

 Motion to Suppress Physical Evidence [Doc. 115] and Defendant’s Motion to Suppress Statements

 [Doc. 118] (styled as “Memorandum of Points and Authorities in Support of Motion of Defendant

 Ronald Thompson-Bey to Suppress”) will be DENIED.



        IT IS SO ORDERED.

                                      ENTER:

                                            s/ Thomas W. Phillips
                                          United States District Judge




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